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                           UNITED STATES DISTRICT COURT
  7                       CENTRAL DISTRICT OF CALIFORNIA

  8    MIGUEL HERNANDEZ                          Case No.
                                                 2:21−cv−02290−FMO−E
  9                  Plaintiff(s),
  10        v.                   ORDER Re: SUMMARY JUDGMENT
                                 MOTIONS
  11 METROPOLITAN LIFE INSURANCE
     COMPANY, et al.
  12
              Defendant(s).
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  14
  15        A deadline for dispositive motions has been set in the above-captioned case.
  16   Any motion(s) for summary judgment shall comply with all Federal Rules of Civil
  17   Procedure and Local Rules, as well as this Order. Please be advised that this Order
  18   contains requirements more specific than the Local Rules and Federal Rules of
  19   Civil Procedure.
  20        1. Joint Brief: The parties shall work cooperatively to create a single, fully

  21   integrated joint brief covering all parties’ summary judgment motions, in which

  22   each issue (or sub-issue) raised by a party is immediately followed by the opposing
  23   party’s/parties’ response. The joint brief shall set out each issue (or sub-issue),

  24   including legal argument and citation to evidence and the joint appendix of

  25   undisputed and disputed facts (i.e., not simply to the joint appendix of undisputed

  26   and disputed facts), followed seriatim by the response with respect to that issue
  27   (or sub−issue), including legal argument and citation to evidence.
  28        2. Citation to Evidence: The parties shall cite to relevant evidence to support

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       factual assertions throughout the joint brief. All citations to evidence shall be
  2    directly to the exhibit and page number(s) of the evidentiary appendix, (see infra
  3    at ¶ 5), or page and line number(s) of a deposition, as well as the joint appendix
  4    of undisputed and disputed facts. Parenthetical explanations are encouraged.

  5    Failure to cite to evidence in support of a factual assertion may be deemed a
  6    party’s admission that it lacks evidence of that fact. Evidence not cited by a
  7    party in the joint brief may not be considered.
  8         3. Unnecessary Sections: The parties need not include a “procedural history”
  9    section, since the court will be familiar with the procedural history. The court is
  10   also familiar with the general standard for summary judgment, so that need not be
  11   argued. However, if a party believes a specialized standard is applicable, the party
  12   may brief such a standard. If preliminary issues - such as burden of proof, standard

  13   of review, or choice of law - are in dispute, the parties shall brief such issues
  14   in accordance with ¶ 1, supra.
  15        4. Page Limitation: Each separately-represented party shall be limited to
  16   twenty-five (25) pages, exclusive of tables of contents and authorities. Repetition
  17   shall be avoided and, as always, brevity is preferred. Leave for additional space

  18   will be given only in extraordinary cases. The excessive use of footnotes in an

  19   attempt to avoid the page limitation shall not be tolerated. All substantive material,

  20   other than brief argument on tangential issues, shall be in the body of the brief.
  21        5. Evidentiary Appendix: The joint brief shall be accompanied by one
  22   separate, tabbed appendix¹ of declarations and written evidence (including
  23   documents, photographs, deposition excerpts, etc.). See Local Rule 7-6.
  24   Declarations shall set out facts that would be admissible in evidence, and shall

  25   not contain argument, see Local Rule 7-7, and physical exhibits shall be lodged

  26   separately. The evidentiary appendix shall include a table of contents.
  27   __________________
  28   ¹ A large appendix may be divided into multiple volumes.

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            If the evidentiary appendix in support of or in opposition to a motion exceeds
  2    50 pages, the evidence must be separately bound and tabbed and include an index.
  3    If such evidence exceeds 300 pages, the documents shall be placed in three-ring
  4    binders, with an index and with each item of evidence separated by a divider with

  5    a tab on the right side. In addition, counsel shall provide an electronic copy (i.e., cd,
  6    dvd, or flash drive) of the documents in a single, OCR-scanned, .pdf file with each
  7    item of evidence separated by labeled bookmarks. Counsel shall ensure that all
  8    documents are legible.
  9         6. Evidentiary Objections: All necessary evidentiary objections shall be
  10   made in the relevant section(s) of the joint brief.
  11        7. Joint Appendix of Undisputed and Disputed Facts: The joint brief shall
  12   also be accompanied by a joint appendix of undisputed and disputed facts. The

  13   14-point font requirement of Local Rule 11-3.1.1 is waived for the purposes of
  14   this factual appendix only. To avoid a Notice of Document Discrepancy, the
  15   appendix must be entitled “Statement of Uncontroverted Facts.” See Local Rule
  16   56-1. This appendix shall consist of a five column table:
  17             a. The first column shall contain the number of the fact alleged by a

  18        party to be undisputed. All asserted undisputed facts shall be sequentially

  19        numbered, but shall be divided into sections clearly denoting which party is

  20        asserting the undisputed fact (e.g., D1, D2, . . . , P51, P52, . . .). Facts agreed
  21        to be undisputed need not be reasserted in later sections.
  22             b. The second column shall contain a plain statement of the fact. The
  23        fact shall not be compound. If, for instance, the required response is that the
  24        fact is disputed in part, the fact is compound. Further, neither legal arguments

  25        nor conclusions constitute facts.

  26             c. The third column shall contain citation to admissible evidence the
  27        party believes supports that fact. If multiple pieces of evidence are cited,
  28        parenthetical explanations of the nature and relevance of each piece of

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            evidence shall be included.
  2              d. The fourth column shall contain the opposing party’s/parties’
  3         response to the asserted undisputed fact. The following are the only
  4         appropriate responses: (1) “Undisputed”; (2) “Disputed,” along with a brief

  5         explanation of the dispute (e.g., “unsupported by admissible evidence,” or
  6         “conflicting evidence presented”). Legal argument is not an appropriate
  7         response. See Local Rule 11-7.
  8              e. The fifth column shall contain citation to admissible evidence
  9         supporting the party’s assertion of the disputed fact. If multiple pieces of
  10        evidence are cited, parenthetical explanations of the nature and relevance of
  11        each piece of evidence shall be included. If the party does not dispute the
  12        fact, or simply disputes the sufficiency of the asserting party’s evidence, no

  13        citation is necessary.
  14        8. Failure to Properly Dispute a Fact: A party’s failure to properly dispute
  15   any fact asserted to be undisputed by the opposing side shall be deemed established
  16   for the purposes of resolving the motion(s). See Local Rule 56-3.
  17        9. Schedule for Preparation and Filing of Joint Brief: The briefing schedule

  18   for the joint brief shall be as follows:

  19             A. Meet and Confer: In order for a motion for summary judgment to

  20        be filed by the deadline for dispositive motions, the meet and confer must take
  21        place no later than thirty-five (35) days before the deadline for dispositive
  22        motions set forth in the Court’s Case Management and Scheduling Order. It
  23        shall be the responsibility of counsel for the moving party to arrange for this
  24        conference. Counsel for the parties shall meet and confer in person at an

  25        agreed-upon location within the Central District of California to narrow and

  26        crystallize the issues to be argued in the summary judgment motion. The
  27        parties shall discuss each issue to be raised in the motion, as well as the law
  28        and evidence relevant to that issue, so that the parties’ briefing reflects that

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           they are fully cognizant of the other side’s position(s). If the briefing reveals
  2        that the parties are not on the same page with respect to the issues and
  3        position(s) presented, the motion shall be stricken.
  4             B. No later than seven (7) days after the meet and confer, the moving

  5        party shall personally deliver or e-mail to the opposing party an electronic
  6        copy of the moving party’s portion of the joint brief, together with the moving
  7        party’s portion of the evidentiary appendix and joint appendix of undisputed
  8        and disputed facts.
  9             C. No later than fourteen (14) days after receiving the moving party’s
  10       papers, the opposing party shall personally deliver or e-mail to the moving
  11       party an electronic copy of the integrated motion, which shall include the
  12       opposing party’s portion of the joint brief, together with the opposing party’s

  13       portion of the evidentiary appendix and joint appendix of undisputed and
  14       disputed facts.
  15            D. No later than two days after receiving the integrated version of the
  16       motion and related papers, the moving party shall finalize it for filing. The
  17       moving party may not make any further revisions to the joint brief other than

  18       finalizing the document for filing. Once finalized, the joint brief shall be

  19       provided to the opposing party’s counsel who shall sign it and return it to the

  20       moving party’s counsel no later than the end of the next business day. The
  21       moving party’s counsel shall sign and electronically file the joint brief, the
  22       evidentiary appendix, and joint appendix of undisputed and disputed facts no
  23       later than one business day after receiving the opposing party’s signed copy.
  24       The joint brief shall be accompanied by a Notice of Motion and Motion for

  25       Summary Judgment, and shall be calendared pursuant to the Local Rules.

  26            E. Supplemental Memorandum: After the joint brief is filed, each
  27       party may file a supplemental memorandum of points and authorities no
  28       later than fourteen (14) days prior to the hearing date. The supplemental

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             memorandum shall not exceed ten (10) pages in length. No other separate
  2          memorandum of points and authorities shall be filed by either party in
  3          connection with the summary judgment motion.
  4          10. Failure to Comply with this Order: If it appears from the joint brief that

  5     the parties have not discharged their meet and confer obligations in good faith, that
  6     the parties have not worked to fully integrate the document, or that the parties have
  7     otherwise failed to fully comply with this Order, the motion shall be stricken, and
  8     the parties shall be required to repeat the process. If it appears that one (or more)
  9     of the parties is primarily responsible for the failure to properly file an adequate
  10    joint brief, the primarily responsible party or parties shall be subject to appropriate
  11    sanctions.
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           IT IS SO ORDERED.
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       DATED: July 20, 2021                                       /s/
  14                                                     Fernando M. Olguin
                                                      United States District Judge
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